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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :      Criminal Case No. PX-20-0434
                                             :
JEREMY WYETH SCHULMAN                        :


      MOTION IN LIMINE AND INCORPORATED MEMORANDUM OF LAW TO
                  EXCLUDE TESTIMONY OF YUSSUR ABRAR

       Defendant Jeremy Schulman, by and through counsel, respectfully moves this Court to

preclude the government from eliciting any testimony from Yussur Abrar at trial pursuant to Fed.

R. Evidence 403. On April 9, 2024, the government noticed its intent to elicit testimony from Ms.

Abrar, a former Governor of the Central Bank of Somalia, regarding “her actions related to

Shulman Rogers and her interactions with Schulman and Co-conspirator 1.” Government’s Trial

Brief, ECF No. 414 at 11. Multiple witnesses who would rebut Ms. Abrar’s testimony are

unavailable to Mr. Schulman at trial due to the government’s delay. Accordingly, due to the unfair

prejudice that would be caused to Mr. Schulman if Ms. Abrar were permitted to testify, the

government should be precluded from eliciting her testimony under Rule 403. In support thereof,

Mr. Schulman submits the following.

                                       BACKGROUND

       Ms. Abrar only served as the governor of the Central Bank for less than two months—from

September 13, 2013 until November 1, 2013. Nevertheless, Ms. Abrar is the only Somali official

who will testify in the government’s case-in-chief in support of the government’s theory that Mr.

Schulman lacked authority to engage in asset recovery efforts.

       Based on prior statements made by Ms. Abrar to the government’s investigators, defense

counsel expects Ms. Abrar’s testimony to include allegations of corruption against President
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Hassan Sheikh Mohamud, Foreign Minister Fawzia Adam, and former Central Bank Governor

Abdusalam Omer. See Def’s. Mot. to Dismiss, ECF No. 362, at Exs. 29 and 30. Defense counsel

also expects Ms. Abrar to testify about fears for her safety and possible retaliation by Abdiaziz

Amalo, Musa Ganjab, and President Mohamud. For instance, Ms. Abrar made the following

statements to investigators throughout the course of the investigation. These statements are

independently inadmissible pursuant to the Hearsay Rule. They also shed light on the substance

of her expected testimony:

              “ABRAR told President MOHAMUD that the transaction with
               SHULMAN ROGERS was all wrong. The contract was wrong and
               the Power of Attorney was wrong. . . she further told him that she is
               a United States citizen and the transaction falls under the U.S. laws
               of Foreign Corrupt Practices Act (FCPA)” ECF No. 362-31 (Ex. 29)
               at 4.

              “ABRAR told ADAM that she did not want to believe that ADAM
               would be involved in corruption. ADAM told her that no one says
               no to this President.” ECF 362-31 (Ex. 29) at 4.

              “The younger AMALO called GANJAB and said ‘you're related to
               the President, right?’ AMALO told GANJAB that they could get his
               uncle out of the way, bring OMER into it and get a commission.”
               ECF No. 362-31 (Ex. 29) at 3.

              “By this point ABRAR was concerned for her safety and decided to
               give GANJAB and President MOHAMUD the impression that she
               was going to sign on the Dubai account.” ECF No. 362-31 (Ex. 29)
               at 8.

              “During this time frame Abar became concerned for her safety. She
               called a friend who worked at the State Department and wanted him
               to know about the situation. She told him that if something ever
               happened to her it would be because she would not sign the
               documents.” ECF No. 362-32 (Ex. 30) at 7.

       This Court has found that President Mohamud, Foreign Minister Adam, and Governor

Omer are now unavailable due to the government’s preindictment delay and that Mr. Schulman is

prejudiced by their absence. Mem. Op., ECF No. 308 at 29, 37–47. As such, none of these


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witnesses are available to testify at trial to rebut Ms. Abrar’s testimony. Id. To prevent unfair

prejudice to Mr. Schulman from the government’s delay, Ms. Abrar’s testimony should also be

excluded.

                                       LEGAL STANDARD

         “Few rights are more fundamental than that of an accused to present witnesses in his own

defense,” Chambers v. Mississippi, 410 U.S. 284, 302 (1973), and the compulsory process clause

of the Sixth Amendment is violated when a defendant is “arbitrarily deprived” of “relevant and

material” witnesses that are “vital to the defense.” United States v. Beyle, 782 F.3d 159, 170 (4th

Cir. 2015) (citations omitted). When witness testimony is lost or unavailable, “the trial court has

discretion to pursue a wide range of responses both for the purpose of leveling the evidentiary

playing field and for the purpose of sanctioning” the party which led to the improper loss of the

evidence. See Vodusek v. Bayliner Marine Corp., 71 F.3d 148, 156 (4th Cir. 1995).

         It is within a trial court’s discretion to rule in advance of trial on the admissibility and

relevance of certain forecasted evidence. See Luce v. United States, 469 U.S. 38, 40 n.2 (1984)

(“We use the term [‘in limine’] in a broad sense to refer to any motion, whether made before or

during trial, to exclude anticipated prejudicial evidence before the evidence is actually offered.”).

Under Rule 403, the trial court has discretion exclude relevant evidence “if its probative value is

substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading the jury,

undue delay, wasting time, or needlessly presenting cumulative evidence.”           United States v.

Mosby, No. 22-CR-00007-LKG, 2024 WL 96349, at *2 (D. Md. Jan. 9, 2024) (citing Fed. R. Evid.

403.).    See also United States v. Ausby, 436 F. Supp. 3d 134, 155 (D.D.C. 2019) (“[R]isk of

confusion and unfair prejudice substantially outweighs the testimony's probative value and the

testimony is excluded under Rule 403.”).



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       In criminal cases, “unfairly prejudicial evidence ‘speaks to the capacity of some

concededly relevant evidence to lure the factfinding into declaring guilty on a ground different

from proof specific to the offense charged.’” United States v. Diaz, 2023 U.S. App. LEXIS 25846,

at 4 (4th Cir. 2023) (quoting Old Chief v. United States, 519 U.S. 172, 180 (1997)). In addition,

the Fourth Circuit has found unfair prejudice where there is “a genuine risk that the emotions of

the jury will be excited to irrational behavior, and that this risk is disproportionate to the probative

value of the offered evidence.” United States v. Udeozor, 515 F.3d 260, 264 (4th Cir. 2008)

(quoting United Stated v. Ham, 998 F.2d 1247, 1252 (4th Cir. 1993)). See also United States v.

Greenwood, 796 F.2d 49, 53 (4th Cir. 1986) (“The prejudice which the rule is designed to [guard

against is] jury emotionalism or irrationality.”)

                                            ARGUMENT

       The testimony the government intends to elicit from Ms. Abrar should be precluded under

Fed. R. Evid. 403 because the expected testimony is unfairly prejudicial, confuses the issues, and

misleads the jury. Compounding the prejudice to Mr. Schulman is the unavailability of material

witnesses that are vital to Mr. Schulman’s defense. Beyle, 782 F.3d at 170. Accordingly, the Court

should exclude Ms. Abrar’s testimony in whole.

       The key allegations in the Indictment relate to asset recovery efforts spanning from 2009

through 2013. Ms. Abrar served as Central Bank Governor for less than two months in 2013. And

yet, Ms. Abrar is the only Somali official from whom the jury will hear. Testimony of other Somali

officials such as President Mohamud, Foreign Minister Adam, and Governor Omer would squarely

rebut the Indictment’s allegations and support Mr. Schulman’s defense. See ECF No. 308 at 42-

45. But these witnesses are unavailable to Mr. Schulman due to the government’s preindictment

delay. See id. For this reason, and to level the evidentiary playing field, the government must be



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limited in its ability to offer unfairly prejudicial testimony of the only Somali official that will

testify.

           Ms. Abrar’s allegations of corruption against key exculpatory witnesses such as President

Mohamud, Foreign Minister Adam, and Governor Omer will tarnish these unavailable witnesses

in the eyes of the jury and cause unfair prejudice to Mr. Schulman. In the absence of the

unavailable witnesses’ testimony, the jury will be misled as to Mr. Schulman’s authority to engage

in asset recovery efforts by President Mohamud and affirmations of such authority by senior

Somali officials. Ms. Abrar’s testimony must be excluded.

           Further, Ms. Abrar’s testimony regarding her safety concerns and fear of possible

retaliation by Mr. Amalo, Mr. Ganjab, and President Mohamud are not relevant to the Indictment

and will cause unfair prejudice to Mr. Schulman if elicited at trial. Rule 403 is designed to guard

against “jury emotionalism or irrationality” that would undoubtedly result from hearing Ms.

Abrar’s concerns for her safety that do not relate to Mr. Schulman or implicate him at all.

Discussion of Ms. Abrar’s safety concerns will cause grave, unfair prejudice to Mr. Schulman in

the eyes of the jury and confuse the jury as to whom Ms. Abrar purportedly feared. Other remedies

such as a limiting instruction would not cure the prejudice Ms. Abrar’s testimony would cause.

See e.g., Bruton v. United States, 391 U.S. 123, 135 (1968) (“[T]here are some contexts in which

the risk that the jury will not, or cannot, follow instructions is so great, and the consequences of

failure so vital to the defendant, that the practical and human limitations of the jury system cannot

be ignored.”) (citing Jackson v. Denno, 378 U.S. 368 (1964)).

                                           CONCLUSION

           For the foregoing reasons, Mr. Schulman respectfully requests that this Court preclude the

government from eliciting any testimony from Yussur Abrar at trial.



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Dated: April 18, 2024                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of April 2024, I filed the foregoing Motion in Limine

and Incorporated Memorandum of Law to Exclude Testimony of Yussur Abrar Pursuant to Fed. R.

Evidence 403 with the Clerk of the Court for the U.S. District Court for the District of Maryland,

using the Court’s CM/ECF system. The CM/ECF system sent a “Notice of Electronic Filing” to

all counsel of record who have entered an appearance in this matter.



Dated: April 18, 2024                               Respectfully submitted,

                                                    /s/
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